        Case 1:21-cr-10023-BCB Document 49-1 Filed 09/17/21 Page 1 of 2 PageID #: 447


Charles Bruno Kornmann

From:                              Mosteller, Daniel(USMS) <Daniel.Mosteller@usdqj.gov>

                                                                   1                      9                 A
Sent:                              Tuesday, May 04, 2021 1:52 PM
To:                                Charles Bruno Kornmann
Subject:                           RE: Aberdeen Courtroom Status



CAUTION - EXTERNAL:

                                                                   22                     10                B
Sir,



                                                                                          11
I thank you for the timely response and clarification.
                                                                   3                                        C
Take care,

Dan



From: Charles Bruno Kornmann <Charles_Kornmann@sdd.uscourts.gov>   4                  12                   D            L
Sent: Tuesday, May 4, 2021 11:49 AM
To: Mosteller, Daniel(USMS)<DMosteller@usms.doj.gov>
Subject: RE: Aberdeen Courtroom Status

                                                                   5                  13                   E
It does not apply to defs. Applies to GA attorneys, AUSA's, Marshal personnel, probation officers, and to anyone else
except persons who request an exception with good reasons to do so.

From: Mosteller, Daniel(USMS)<Daniel.Mosteller(ausdoi.gov>
Sent: Tuesday, May 4, 202111:18 AM
To: Charles Bruno Kornmann <Charles Kornmann(5)sdd.uscourts.gov>   6                      14               F
Cc: Roberto Lange <Roberto Lange(5)sdd.uscourts.gov>: stephen.houghtaling_usdoj.gov
<stephen.houghtaling@usdoi.gov>


                                                                                                                        O
Subject: Aberdeen Courtroom Status

CAUTION - EXTERNAL:
                                                                   7                      15               G

Dear Judge Kornmann,
                                                                   8                 16                  H              P
Good morning. I hope this email finds you doing well.

I was advised by the Aberdeen CSO staff that during a recent phone conversation you stated that no unvaccinated CSO
or attorney will be allowed into your courtroom. In an effort to be best prepared for your return to the Aberdeen
courtroom, do you anticipate such a restriction applying to USMS personnel, USMS part-time contract personnel and
defendants? I want to ensure that I am working from the same sheet of music as you and can be prepared to provide
the best possible service for the Court, given the parameters within which I must work.

Thank you kindly for any information you can share.

Very Respectfully,

                                                                                                       USA 097
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Dan




Daniel C. Mosteller
United States Marshal
District ofSouth Dakota
400 S. Phillips Avenue
Sioux Falls, SD 57104
Office: 605-330-4351
Cell: 605-390-7219




CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.


CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




                                                                                           USA 098
